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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    UNITED STATES OF AMERICA

         -v-                                                          No. 10-cr-555 (RJS)
                                                                           ORDER
    ROBERTO SANTIAGO,

                                  Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

        Before the Court is Defendant Roberto Santiago’s motion, in which he (1) renews his

request for a compassionate release under the First Step Act of 2018, due to an outbreak of the

COVID-19 virus among inmates at the FCI Fort Dix prison facility where he is held, and (2) seeks

appointment of counsel to assist him in arguing his motion for a compassionate release. (Doc. No.

142.) 1 For the reasons set forth below, Santiago’s motion is DENIED.

        In 2013, Santiago pleaded guilty to conspiring to distribute heroin in violation of 21 U.S.C.

§§ 841(a)(1), 841(b)(1)(B), and 846. Based on Santiago’s leadership role in the conspiracy, the

Court sentenced him to 144 months’ imprisonment and five years’ supervised release. (Doc. No.

76 at 121.) Two years later, the Court reduced Santiago’s sentence to 135 months’ imprisonment

in light of retroactive amendments to the Sentencing Guidelines that lowered Santiago’s offense

level. (Doc. No. 110.) The Bureau of Prisons (“BOP”) currently projects that Santiago will be

released in December 2022.                See Find an Inmate, Federal Bureau of Prisons,

https://www.bop.gov/mobile/find_inmate/byname.jsp#inmate_results (last visited Jan. 11, 2020).




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 In deciding this motion, the Court has also considered two letters that Santiago sent directly to Chambers,
which are attached to this Order.
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       In April 2020, Santiago filed his first request for a compassionate release, arguing that his

heart condition and asthma increased the risk that the Covid-19 pandemic could seriously harm

him. (Doc. No. 134 at 2.) Although the Court recognized the potential harms posed by the

pandemic and Santiago’s underlying health conditions, it nevertheless concluded that release was

not appropriate both because the BOP’s Fort Dix facility had taken meaningful steps to contain

the virus and because the sentencing factors under 18 U.S.C. § 3553(a) outweighed any facts that

supported release. (Doc. No. 141.)

       As the Court noted previously, a court “may not modify a term of imprisonment once it

has been imposed except pursuant to statute.” (Id. at 3 (quoting United States v. Roberts, No. 18-

cr-528 (JMF), 2020 WL 1700032, at *1 (S.D.N.Y. Apr. 8, 2020)).) Section 3582(c)(1)(A) provides

one such exception. It permits a court to reduce a defendant’s sentence where (1) “extraordinary

and compelling reasons warrant such a reduction,” and (2) such relief would be consistent with

both the objectives of sentencing set forth in 18 U.S.C. § 3553(a) and “applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). A court may reduce a

sentence only “upon motion of the Director of the Bureau of Prisons, or upon motion of the

defendant after the defendant has fully exhausted all administrative rights to appeal a failure of the

Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from the

receipt of such a request by the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C.

§ 3582(c)(1)(A). But because this exhaustion requirement is “a ‘claim processing’ rule rather than

a jurisdictional bar,” a court can proceed to the merits where, as here, the government does not

press the defense of exhaustion. United States v. Santibanez, No. 13-cr-912 (RJS), 2020 WL

3642166, at *2 (S.D.N.Y. July 6, 2020).




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       On the merits, Santiago contends that an outbreak of COVID-19 at Fort Dix, coupled with

his underlying health conditions, merits a compassionate release. The Court once again disagrees.

       To be sure, the risks Santiago faces from COVID-19 arguably constitute an “extraordinary

and compelling reason[]” for early release. In his letter dated October 19, 2020, Santiago asserts

that he suffers from a heart condition, asthma, and obesity – each of which can increase the risk of

severe illness from COVID-19. See People with Certain Medical Conditions, Centers for Disease

Control        &       Prevention,       https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html# (last visited Jan. 11, 2021). Making matters

worse, the number of inmates at Fort Dix with an active case of the virus has skyrocketed from 20

active cases last month to 797 cases today. Compare United States v. Gerson Pelagio Suarez, No.

16-cr-453 (RJS), 2020 WL 7646888, at *3 (S.D.N.Y. Dec. 23, 2020), with COVID-19, Federal

Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited Jan. 11, 2020). This sharp

increase, together with Santiago’s medical conditions, may rise to the level of “extraordinary and

compelling.”

       But even if Santiago satisfies this threshold requirement, he would not be entitled to relief.

Before granting such relief, the Court must assess the sentencing factors under 18 U.S.C.

§ 3553(a). United States v. Broadus, No. 17-cr-787 (RJS), 2020 WL 3001040, at *3 (S.D.N.Y.

June 4, 2020). The same factors that drove the Court’s analysis when previously deciding

Santiago’s motion for a compassionate release apply with equal force now. Specifically, (1) “the

nature and circumstances of the offense,” (2) “the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, and to provide just punishment for the

offense,” and (3) “the need for the sentence imposed . . . to afford adequate deterrence to criminal

conduct” – all strongly disfavor early release. (Doc. No. 141 at 5 (quoting 18 U.S.C. § 3553(a)).)



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Santiago organized and supervised a conspiracy to distribute at least ten kilograms of heroin. As

repeatedly explained by the Court, this destructive crime required a serious sentence not only to

promote respect for the law and to provide a just punishment, but also to deter comparable criminal

conduct. (Id. at 5–6.) “Releasing Santiago now . . . would go against th[ose] fundamental goals

of sentencing.” (Id. at 6.) Accordingly, a compassionate release is not warranted.

         Given the Court’s denial of Santiago’s motion for compassionate release, his request for

counsel is denied as moot. See, e.g., United States v. Christie, No. 15 CR. 288 (RMB), 2020 WL

3969962, at *3 (S.D.N.Y. July 14, 2020).

                                         *      *       *

         For the reasons set forth above, Santiago’s motion for a compassionate release and

appointment of counsel is DENIED. The Clerk of Court is respectfully directed to terminate the

motion at Doc. No. 142, and to mail a copy of this Order to Santiago.

SO ORDERED.

Dated:          January 11, 2021
                New York, New York
                                                     ____________________________________
                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation




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